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     Federal Defender
 2   MEGAN T. HOPKINS, #294141
     Assistant Federal Defender
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 4   Fresno, CA 93721-2226
     Telephone: 559-487-5561/Fax: 559-487-5950
 5
     Attorneys for Defendant
 6   Victor Hugo Soriano-Villafan

 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                   )   Case No. 1:15-cr-0233 LJO-SKO
                                                 )
12                     Plaintiff,                )   STIPULATION TO CONTINUE
                                                 )   DETENTION HEARING;
13   vs.                                         )   ORDER THEREON
                                                 )
14   VICTOR HUGO SORIANO-                        )   DATE:        September 18, 2015
     VILLAFAN,                                   )   TIME:        1:30 p.m.
15                                               )   JUDGE:       Honorable Stanley A. Boone
                      Defendant.                 )
16                                               )

17
18          IT IS HEREBY STIPULATED by and between the parties hereto, and through their
19   respective attorneys of record herein, that the detention hearing in the above-referenced action
20   now scheduled for September 14, 2015, may be continued to September 18, 2015, at 1:30 p.m.
21          The defendant is unable to access his contact information for friends and relatives
22   residing in or around the Eastern District of California, and therefore additional time is needed
23   for investigators to locate them and for counsel to further provide that information to pre-trial

24   services. Furthermore, defense counsel needs additional time to confirm the status of
25   defendant’s license to drive from the State of Nevada. The requested continuance will conserve
26   time and resources for all parties and the Court.
27          The parties agree that the delay resulting from this request shall be excluded in the
28   interests of justice and for effective defense preparation, pursuant to 18 U.S.C. §§ 3161(h)(7)(A)
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 1   and 3161(h)(7)(B)(i) and (iv).
 2
 3                                                         Respectfully submitted,
 4                                                         HEATHER E. WILLIAMS
                                                           Federal Defender
 5
 6   DATED: September 11, 2015                      By:    /s/ Megan T. Hopkins
                                                           MEGAN T. HOPKINS
 7                                                         Assistant Federal Defender
                                                           Attorney for Defendant
 8                                                         VICTOR HUGO SORIANO-VILLAFAN
 9
     DATED: September 11, 2015                              BENJAMIN B. WAGNER
10                                                          United States Attorney
11
                                                            /s/ Patrick R. Delahunty
12                                                          PATRICK R. DELAHUNTY
                                                            Assistant United States Attorney
13
14
15
16
                                                 ORDER
17
              Good cause appearing, the above Stipulation to Continue Detention Hearing in Case No.
18
     1:15-CR-0233 LJO-SKO is hereby accepted and adopted as the Order of this Court. Time is also
19
     excluded in the interest of justice and to allow for defense preparation, pursuant to 18 U.S.C. §§
20
     3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).
21
22   IT IS SO ORDERED.
23
     Dated:     September 11, 2015
24                                                     UNITED STATES MAGISTRATE JUDGE

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